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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

                                Case No.: 3:21-cv-01081-MMH-PDB

 CINDY L. RESCHKE,

         Plaintiff,
 v.

 TARGET CORPORATION,
 A Foreign Profit Corporation

         Defendant.
                                                             cl

                           PLAINTIFF'S MOTION FOR REMAND

       COMES NOW the Plaintiff, CINDY RESCHKE, by and through her undersigned attorney,

and files this motion under 28 U.S.C. § 1447 and Rule 3.01, Rules of the U.S. District Court for

the Middle District of Florida, and files this, her Motion to Remand and supporting Memorandum of

Law, and for grounds states as follows:


             1.        On September 24, 2021, Plaintiff filed its Complaint against Defendant

Target Corporation, A Foreign Profit Corporation (hereinafter referred to as “Target”) in the

Fourth Judicial Circuit in and for Duval County, Florida.

             2.        Plaintiff’s Complaint alleges that the damages are in excess of $30,000.

             3.        Plaintiff avers in her Complaint that Defendant’s employee, while pushing a

cart, negligently “struck the Plaintiff multiple times causing the Plaintiff to fall. See paras 8 through

10 of Plaintiff’s Complaint.

             4.        As referenced in the Uniform Case Management Report filed with this Court,

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Plaintiff intends to amend the Complaint to add the unknown employee as an additional defendant to

the Complaint. However, Defendant Target has not given the name of the employee to Plaintiff even

though there have been multiple requests. It is unknown if the employee is a resident of Florida or

some other state.

             5.        Defendant Target, in its Notice of Removal, makes reference to a demand that

was made to Target pre-suit. Counsel for Plaintiff and the adjuster for Defendant entered into

settlement discussions from March to April of 2021, consisting of a string of communications,

wherein both sides engaged in “puffery,” and “posturing.” Defendant fails to mention that Target’s

final offer to Plaintiff was $40,000 prior to filing suit – far less than the required jurisdictional

threshold of $75,000.00.

             6.        Defendant also references total medical expenses of $65,519.37 made in a

demand which showed the total amount of charged medical expenses. However, Defendant fails to

mention to the Court that the Plaintiff has health insurance, which has paid for the majority of the

medical treatment related to her injuries. As of the most recent Consolidated Statement of Benefits

from the health insurer Humana, provided to Plaintiff on November 1, 2021, the amount of total

benefits provided was $8,703.58 to date. Please see attached as Exhibit A. Additionally, there are

remaining balances with some of the medical providers which appear to be less than $10,000. Please

see attached as Exhibit B.

            7.         On October 28, 2021, Defendant filed a Notice of Removal and this action

 was subsequently removed from the Fourth Judicial Circuit in and for Duval County, Florida to

 this Court on the basis of this matter falling within the jurisdictional limits of this court, and that

 there was diversity among the parties.


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             8.       Furthermore, Plaintiff respectfully requests that this Court order the

 Defendant to provide the name and last known address of the Target employee who hit

 Plaintiff with the cart as there may not even exist diversity of citizenship.

            9.        Plaintiff avers that the amounts demanded in pre-litigation posture

contained "puffery" and “posturing,” and were never intended to liquidate Plaintiff’s uncertain

damages claim.

           10.        This action should be remanded to Fourth Judicial Circuit in and for Duval

 County, Florida.

           11.        Attached are orders from the Middle District granting remand under

 similar circumstances (See Plaintiff’s Exhibit "C").

                                MEMORANDUM OF LAW

       It is well established that removal statutes are to be strictly construed against removal.

Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100 (1941); Burns v Windsor Ins., Co., 31 F.3d

1092, 1094 (11th Cir. 1994)(“[R] removal statutes are construed narrowly; [when the parties dispute

jurisdiction], uncertainties are resolved in favor of remand.”). See also, American Fire &Cas. Co.

Finn, 341 U.S. 6 (1951). The principle of strict construction of 28 U.S.C. §1441 is particularly

applicable in cases involving diversity of citizenship. Gober v Allstate Ins. Co., 855 F.Supp. 158

(S.D. Miss. 1995); Robinson v Quality Ins. Co., 633 F. Supp 572 (S. D. Ala. 1986).

       The requirement that the minimum amount in controversy for diversity of citizenship

jurisdiction be met is narrowly construed so as not to frustrate the congressional purpose of keeping

the diversity caseload of Federal Courts under some modicum of control. Pierson v Source Perrier,

S.A., 848 F. Supp. 1186 (E.D. Penn. 1994), citing, Packard v Provident NationalBank, 944 F.2d 1039
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(3rd Cir. 1993). All doubts concerning jurisdiction should be resolved in favor of remand. Pierson,

supra, citing, Abels v State Farm Fire & Cas. Co., 770 F. 2d 26 (3rd Cir. 1985).

       Defendants have a right by statute to remove in certain circumstances. However, Plaintiff is

still the master of her own claim. Burns v. Windsor Ins. Co., 31 F.3d 1092 (11th Cir. 1994).

       As such, the Defendant’s right to remove and Plaintiff’s right to choose her forum are not

equal; removal statutes are construed narrowly and when a dispute arises as to jurisdiction,

uncertainties should be resolved in favor of remand. Id. at 1097. In determining whether a claim

exceeds the jurisdictional limit, the standard to be used, when measuring the damages sought and

amounts in controversy, is an objective one wherein the subjective intent or belief of the parties is

not a proper measure. Burns v. Windsor Ins. Co., supra. A removing party has the burden of proving

that federal jurisdiction exists by preponderance of the evidence and the removing party must present

facts establishing its right to remove. If the removing party fails to meet this burden, the case must

be remanded. Williams v Best Buy Company, Inc., 269 F. 3d 1316 (11th Cir. 2001).

       To determine whether this standard is met, the Court first examines whether it is facially

apparent from the complaint that the amount in controversy exceeds the jurisdictional requirement."

Miedema v. Maytag Corp., 450 F.3d 1322, 1330 (11th Cir. 2006) (citation omitted). "If the

jurisdictional amount is not facially apparent from the complaint, the court should look to the notice

of removal and may require evidence relevant to the amount in controversy at the time the case was

removed," Id. (citation omitted). A defendant seeking removal may submit affidavits or other

evidence to meet its burden of showing a jurisdictional basis for removal, see Pretka, 608 F.3d at

755, but such evidence is permissible to consider only if the facts alleged existed at the time of

removal, Sierminski v. Transouth Fin. Corp., 216 F.3d 945, 949 (11th Cir. 2000).


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                    The Defendant has failed to meet its burden in establishing the
                       amount in controversy of seventy-five thousand dollars

       The Defendant has failed to satisfy its burden of establishing that the requisite minimum

amount in controversy of seventy-five thousand dollars ($75,000.00) is exceeded in the subject

action. Where, as in the case at bar, a plaintiff makes an unspecified demand for damages in a state

court complaint, the removing defendant must prove by a preponderance of the evidence that the

amount in controversy more likely than not exceeds the jurisdictional requirement. Tapscott v. M.S.

Dealer Service Corp., 77 F. 3d 1353 (11th Cir. 1996), overruled on other grounds, by Cohen v Office

Depot, Inc., 204 F.3d 1069 (11th Cir. 2000). See also, Singer v State Farm Mut. Auto. Ins. Co., 116

F. 3d 373 (9th Cir. 1997); Golden v Dodge-Markham Co., Inc., 1 F. Supp 2d 1360 (M.D. Fla. 1998);

Gober, supra. A removing party has the burden of proving that federal jurisdiction exists by

preponderance of the evidence and the removing party must present facts establishing its right to

remove. If the removing party fails to meet this burden, the case must be remanded. Williams v Best

Buy Company, Inc., supra.


       Here, Defendant submits as evidence Plaintiff’s Pre-Suit Settlement Demand as proof that

the amount in controversy is satisfied. A settlement demand is a subjective evaluation of the

damages. Defendant’s use of Plaintiff’s Pre-Suit Settlement Demand as notice that a case could be

removed to Federal Court is proper as a factor to evaluate; however, standing alone it is insufficient

to meet the Defendant’s burden that the amount in controversy exceeds $75,000.00. In Golden v.

Dodge-Markham Co., Inc., 1 F.Supp.2d 1360 (M.D. Fla. 1998), the Court was confronted with an

action originally brought in state court based on wrongful termination. The defendant removed the

action to Federal Court and as grounds for removal relied upon a pre-suit demand letter as evidence

of the amount in controversy. To meet its burden, the defendant brought forward no objective
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evidence of the amount in controversy, instead relying only upon the pre-suit demand and its

subjective evaluation of the amount of compensatory damages, which could be awarded if plaintiff

prevailed. The court found defendant did not meet its burden. In doing so, the court rejected the

defendant’s reliance on plaintiff’s pre-suit demand/settlement offer and subjective evaluation of

damages. Golden at 1360. It should also be noted that Defendant’s offer prior to filing suit was far

less that the jurisdictional limits of this Court.

        In Brooks v. Sears, Roebuck & Co., 2018 U.S. Dist. LEXIS 123381 (M.D. Fla. 2018), the

Court found that a PFS for $135,000 did not establish the amount in controversy requirement:

        As it did in its response to the Show Cause Order, Defendant objects to the R&R's contrary
        conclusion by urging the Court to find that the Settlement Proposal sufficiently establishes
        the requisite amount in controversy. (Doc. 19, pp. 5-9.) This argument is no more persuasive
        as an objection to the R&R than it was in response to the Show Cause Order.

        Settlement offers are not conclusive proof of the amount in controversy; rather, courts
        consider the circumstances under which they are made, including the specificity of
        information provided in the offer.1Link to the text of the note See Alilin v. State Farm Mut.
        Auto. Ins. Co., No. 6:14-cv-1183-Orl-41DAB, 2015 U.S. Dist. LEXIS 11124, 2014 WL
        7734262, at *2 (M.D. Fla. Jan. 30, 2015). Here, Defendant offers the Settlement Proposal as
        the sole evidence of the amount in controversy. (See Doc. 19, pp. 5-9.) But it lacks specific
        information to suggest that $135,000 is a reasonable assessment of Plaintiff's claim. (See
        Doc. 1-2, p. 1.) And Defendant provides no details concerning the nature and severity of
        Plaintiff's injuries which would allow the Court to determine the reasonableness of the
        proposal. With this, the Settlement Proposal—standing alone—is insufficient to establish
        the amount in controversy. See, e.g., Jackson v. Select Portfolio Servicing, Inc., 651 F. Supp.
        2d 1279, 1281 (S.D. Ala. 2009) (finding a post-suit settlement offer making a flat claim for
        $155,000 with no information about how the damages were assessed failed to establish the
        amount in controversy). So Defendant has failed to carry its burden on this requirement.

        Failing to establish diversity jurisdiction, Defendant has failed to demonstrate subject matter
        jurisdiction. See Williams, 269 F.3d at 1319. Thus, this case is due to be remanded.

        Id at 5, 6.

        In Bess v. Day, 2015 U.S. Dist. LEXIS 161891(M.D. Fla. 2015), which Order is attached as

part of Exhibit C, the defendant relied on a pre-suit demand, and the plaintiff’s injuries to establish

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the amount in controversy requirement, including the possibility of surgery, and medical bills of

“only $14,662.” Id at 4. The Court found that these “allegations that Plaintiff might incur future

medical expenses, including the cost of a surgery, . . . do not prove to a ‘legal certainty’ that the

amount in controversy exceeds $75,000..” Id. Defendant has submitted no factual allegations that

the total medical expenses exceed $75,000, and also fails to advise the Court that Plaintiff has health

insurance, which greatly reduces the amount which Plaintiff would be entitled to post-verdict with

collateral set-offs.


        Next, Defendant relies on “posturing” and “puffery” as part of the settlement negotiations

between opposing counsel and the pre-suit adjuster as a factual allegation to determine the amount

in controversy. In Bess v. Day, the Court found that a Plaintiff’s settlement negotiation letter “is

nothing more than posturing by plaintiff’s counsel for settlement purposes and cannot be considered

a reliable indicator of damages sought by the plaintiff.” Id. it 4. Here, Defendant Target relies on

representations by Plaintiff’s counsel’s demand. These statements made in settlement negotiations

are not the factual allegations required for Federal jurisdiction.


        The only allegations regarding the amount in controversy asserted in the Notice of Removal

are speculation, and Defendant has failed to meet its burden to establish Federal Diversity

Jurisdiction.


        Additionally, Defendant’s employee may also be a resident of the state of Florida, and

Plaintiff respectfully requests this Court to compel Defendant to give the name and last known

address of the Target employee who hit the Plaintiff with the cart.

          WHEREFORE, Plaintiff, CINDY RESCHKE, requests                     that   this Court remand


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 this action to the Fourth Judicial Circuit in and for Duval County, CINDY RESCHKE

 also seeks her attorneys' fees and costs in accordance with 28 U.S.C. § 1447(c), and grant all

 other relief this court deems just and appropriate.



                               CERTIFICATE OF SERVICE

        WE HEREBY CERTIFY that on this 24th day of November, 2021, a true and correct
 copy of the foregoing was electronically filed the foregoing document with the Clerk of
 Court by using the CM/ECF filing system. I also certify that the foregoing document is
 being served this day on all counsel of record or pro se parties as identified as below in the
 manner specified, either via transmission of Notice of Electronic Filing generated by
 CM/ECF or in some other authorized manner for hose counsel or parties who are not
 authorized to receive electronically Notices of Electronic Filing.

                                                   FARAH & FARAH, P.A.

                                                    /s/ John C. Thomas
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                    (SERVICE LIST TO FOLLOW ON NEXT PAGE)




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